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     Attorneys for Plaintiff
10
11                        UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA
12
13                                          )   Case No.: 2:16-cv-01699-SRB
     Nicholas Fisher,
                                            )
14                                          )   NOTICE OF SETTLEMENT AS TO
15                 Plaintiff,               )   ALL DEFENDANTS
                           v.               )
16                                          )
17   U.S. Degree Search, LLC and            )
     Transcend Media, LLC                   )
18                                          )
19                                          )
                   Defendants.
                                            )
20                                          )
21                                          )
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22                                          )
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25
           PLEASE TAKE NOTICE that Plaintiff Nicholas Fisher, and Defendants
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     U.S. Degree Search, LLC and Transcend Media, LLC, have settled the above-
27
     entitled matter in its entirety.   The parties anticipate filing a dismissal of all
28
     NOTICE OF SETTLEMENT                       1
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1    Defendants with prejudice as to Plaintiff’s claims, and without prejudice as to the
2    putative class members’ claims, no later than 60 days from the date of this Notice.

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4    Dated: November 11, 2016                           Respectfully submitted,
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6                                                 BY: /S/ RYAN L. MCBRIDE______
7                                                        RYAN L. MCBRIDE, ESQ.
                                                         ATTORNEY FOR PLAINTIFF
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     NOTICE OF SETTLEMENT                     2
